

Patel v Great Health, Inc. (2023 NY Slip Op 50458(U))



[*1]


Patel v Great Health, Inc.


2023 NY Slip Op 50458(U)


Decided on April 28, 2023


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 28, 2023
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : WAVNY TOUSSAINT, P.J., CHEREÉ A. BUGGS, LOURDES M. VENTURA, JJ



2022-569 Q C

Vinod Patel, Member of Chokshi Brothers, LLC, Respondent, 
againstGreat Health, Inc., Doing Business as Good Cure Pharmacy and Arshad P. Bhutta, Appellants. 




Sinayskaya Yuniver, P.C. (Steven R. Yuniver and Geoffrey Liter of counsel), for appellants.
Hertz, Cherson &amp; Rosenthal, P.C. (David Troupp of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (David M. Hawkins, J.), dated January 14, 2022. The order, insofar as appealed from, denied tenants' cross motion to, among other things, vacate or alter a stipulation of settlement in a summary nonpayment proceeding.




ORDERED that the appeal is dismissed.
The appeal from so much of the order dated January 14, 2022 as denied tenants' cross motion to, among other things, vacate or alter a stipulation of settlement must be dismissed as the right of direct appeal therefrom terminated upon the subsequent entry of a final judgment in this nonpayment proceeding on June 10, 2022 (see Matter of Aho, 39 NY2d 241, 248 [1976]; Wells Fargo Bank, N.A. v Licurse, 211 AD3d 989 [2022]; Eden v Alvillar, 76 Misc 3d 131[A], 2022 NY Slip Op 50905[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2022]). We note that appellate review of this intermediate order will be available if brought up for review on a proper appeal (see Patel v Great Health, Inc., 2023 NY Slip Op 64330[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2023]) from the final judgment (see Matter of Aho, 39 NY2d at 248).
Accordingly, the appeal is dismissed.
TOUSSAINT, P.J., BUGGS and VENTURA, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: April 28, 2023









